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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

  Case No. 1:22-cv-00486-RM-MEH

  ALLEN GONZALES, individually,

         Plaintiff,

  v.

  FREMONT PAVING & REDI-MIX, INC. d/b/a ARY CORPORATION, a Colorado
  corporation,

        Defendant.


                  DEFENDANT’S CORPORATE DISCLOSURE STATEMENT


         Defendant, Fremont Paving & Redi-Mix, Inc. d/b/a Ary Corporation (“Ary

  Corporation”), by and through its undersigned counsel, hereby submits its corporate disclosure

  statement pursuant to FED. R. CIV. P. 7.1(a). Ary Corporation states that it is a privately held

  corporation organized under the laws of the State of Colorado. It has no parent corporation and

  no publicly held corporation owns 10% or more of its stock.

         Respectfully submitted this 23rd day of May, 2022.

                                            THE WORKPLACE COUNSEL
                                             s/ Jennifer L. Gokenbach
                                             Jennifer L. Gokenbach
                                             1401 Lawrence Street, Suite 1600
                                             Denver, Colorado 80202
                                             Tel: 303.625.6400
                                             Fax: 303.990.8131
                                             CM/ECF Email: jennifer@theworkplacecounsel.com
                                             Counsel for Defendant Ary Corporation

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                                 CERTIFICATE OF SERVICE

         I hereby certify that on this 23rd day of May, 2022, I electronically filed the foregoing
  DEFENDANTS CORPORATE DISCLOSURE STATEMENT with the Clerk of the Court
  using the CM/ECF system, which will send notification of such filing to all counsel of record
  who have entered an appearance in the case.

                                                     s/ Jennifer L. Gokenbach
                                                     Jennifer L. Gokenbach




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